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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                          Case No. 03-cr-00274 JB

STEPHEN THOMAS PAULINO,

       Defendant.


             EMERGENCY AMENDED MOTION FOR RESENTENCING
           PURSUANT TO SECTION 404 OF THE FIRST STEP ACT OF 2018

       Defendant Stephen Thomas Paulino, by and through undersigned counsel, respectfully

submits this amended motion to resentence him pursuant to Section 404 of the First Step Act of

2018. Mr. Paulino asks the Court to reduce his sentence from 262 months followed by eight

years of unsupervised release to 188 months of imprisonment followed by six years of

unsupervised release. Because such a result would make him eligible for immediate release from

incarceration, Mr. Paulino respectfully requests an expedited decision. 1 The government, through

Assistant U.S. Attorney Mark Christian Pfizenmayer, has not yet taken a position on this motion.

                RELEVANT LEGAL AND PROCEDURAL BACKGROUND

       On March 26, 2003, a two-count superseding grand jury indictment was filed against Mr.

Paulino. (Doc. 30.) Count I charged him with conspiracy to distribute 50 grams and more of a

mixture or substance containing a detectable amount of cocaine base, in violation of 21 U.S.C.

§§ 841(a)(1), (b)(1)(A), and 846. Count II charged him with possessing with intent to distribute 5
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       As of today, Mr. Paulino has been in custody since January 14, 2003, or 195 months and
25 days. Thus, even absent calculation of any good-time credits, Mr. Paulino is effectively
seeking a sentence of time served.
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grams and more of a mixture or substance containing a detectable amount of cocaine base, in

violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B). The following day, the government filed an

information pursuant to 21 U.S.C. § 851, asserting that Mr. Paulino was eligible for the enhanced

penalty provisions found in §§ 841(b)(1)(A) and (b)(1)(B). (Doc. 32.) Mr. Paulino did not

challenge the information.

       On May 5, 2003, Mr. Paulino pled guilty to Count II of the superseding indictment, i.e.,

to one count of possessing with intent to distribute 5 grams or more of cocaine base in violation

of 21 U.S.C. § 841(a)(1). (See Doc. 43.) Other than his agreement that he was responsible for at

least 5 grams of cocaine base, Mr. Paulino made no other admissions as to the amount of cocaine

base he possessed. (See id.) Given the enhancement that had been filed, Mr. Paulino was subject

at that time to a mandatory minimum term of imprisonment of 120 months and a maximum term

of life pursuant to § 841(b)(1)(B). 2

       Probation determined Mr. Paulino to be a career offender pursuant to U.S.S.G. § 4B1.1.

Because his maximum term of imprisonment was life, Probation determined Mr. Paulino’s

offense level to be 37 and his criminal history category to be VI. 3 See § 4B1.1(b)(1). Subtracting

three points for acceptance of responsibility pursuant to U.S.S.G. § 3E1.1 resulted in a total

offense level of 34 and a guideline range of 262 to 327 months of imprisonment. On July 24,


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       A defendant subject to punishment pursuant to § 841(b)(1)(B) typically faces a
mandatory minimum of 5 years and a maximum of 40 years of imprisonment. If a § 851
enhancement applies, however, the defendant faces a mandatory minimum term of imprisonment
of 10 years and a maximum of life.
3
       Using the 2002 version of the guidelines, Probation initially determined Mr. Paulino’s
offense level to be 32. This was based on Probation’s conclusion that Mr. Paulino was
responsible for 85.6 grams of cocaine base as relevant conduct. Because, however, the career
criminal provision of the guidelines resulted in a higher offense level, Probation calculated Mr.
Paulino’s adjusted offense level to be 37.
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2003, Judge Parker sentenced Mr. Paulino to 262 months’ imprisonment followed by eight years

of unsupervised release. (Doc. 48.) According the Bureau of Prisons inmate locator, Mr. Paulino

is scheduled to be released from custody on February 14, 2022.

       On August 3, 2010, President Obama signed into law the Fair Sentencing Act of 2010

(“Fair Sentencing Act”), 124 Stat. 2372, Pub. L. 111-220, the purpose of which was to reduce the

sentencing disparities between defendants convicted of offenses involving crack cocaine, i.e.,

cocaine base, and powder cocaine. Prior to the Fair Sentencing Act and at the time of Mr.

Paulino’s sentencing, a defendant convicted of 21 U.S.C. § 841(a)(1) facing a § 851

enhancement was subject to a minimum of 20 years and a maximum of life imprisonment

pursuant to § 841(b)(1)(A) if the relevant amount of crack cocaine was 50 grams or more; a

minimum of 10 years and a maximum of life imprisonment pursuant to § 841(b)(1)(B) if the

relevant amount of crack cocaine was 5 grams or more; and a maximum of 30 years

imprisonment if the relevant amount of crack cocaine was less than 5 grams. Sections 2 and 3 of

the Fair Sentencing Act changed the amounts of crack cocaine needed to trigger these same

penalties under § 841(b)(1)(A), (b)(1)(B), and (b)(1)(C) to 280 grams, 28 grams, and less than 28

grams respectively. The Fair Sentencing Act, however, did not apply to defendants, like Mr.

Paulino, whose sentences were imposed prior to its enactment. See United States v. Murphy, 501

F. App’x 740, 744 (10th Cir. 2012) (“[W]e have repeatedly held the Fair Sentence Act, which

amends certain statutory minimum sentences, does not apply retroactively to defendants . . .

sentenced before its August 3, 2010 effective date.”).

       On December 21, 2018, the First Step Act of 2018 (“First Step Act”) was enacted into

law. S. 756, 115th Cong. The First Step Act makes Sections 2 and 3 of the Fair Sentencing Act

retroactive. Specifically, Section 404(b) of the First Step Act provides: “A court that imposed a
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sentence for a covered offense may, on motion of the defendant, . . . impose a reduced sentence

as if sections 2 and 3 of the Fair Sentencing Act . . . were in effect at the time the covered offense

was committed.” Section 404(a) of the First Step Act defines a “covered offense” as “a violation

of a Federal criminal statute, the statutory penalties for which were modified by section 2 or 3 of

the Fair Sentencing Act . . . that was committed before August 3, 2010.”

       Given that Mr. Paulino was convicted of a “covered offense” that was committed before

August 3, 2010, he is now eligible to be resentenced under the Fair Sentencing Act. As the table

below shows, a proportionate sentence would result in a 188 month term of imprisonment

followed by six years of unsupervised release.

                                   Guideline Calculations
              Offense of Conviction: § 841(a)(1) / 5 grams or more of cocaine base
                                                 Sentencing                     Today
                                  Date: May 5, 2003
Statutory Maximum Penalty with § 851 Life                                 30 years
                      Enhancement:
            Mandatory Minimum Term: 120 months followed by 8              None followed by 6 years
                                    years supervised release              supervised release
  Offense Level for Career Offender as 37                                 34
  Determined by U.S.S.G. § 4B1.1(b):
          Acceptance of Responsibility: -3                                -3
                    Total Offense Level: 34                               31
             Criminal History Category: VI                                VI
                       Guideline Range: 262 – 327 months                  188 – 235 months
         Sentence Imposed / Requested: 262 months followed by 8           188 months followed by
                                       years (un)supervised               6 years (un)supervised
                                       release                            release




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                                          ARGUMENT

I.     This Motion is Brought Pursuant to § 3582(c)(1)(B), Not § 3582(c)(2).

       As an initial matter, it should be understood that this motion is not governed by 18 U.S.C.

§ 3582(c)(2) or § 1B1.10 of the Sentencing Guidelines. Section 3582(c)(2) allows “a defendant

who has been sentenced to a term of imprisonment based on a sentencing range that has

subsequently lowered by the Sentencing Commission” to seek a sentencing reduction “if such a

reduction is consistent with applicable policy statements issued by the Sentencing Commission.”

§ 3582(c)(2). The applicable policy statement is found at § 1B1.10 of the Guidelines. As recently

explained by the U.S. District Court for the Southern District of Illinois, “the sentencing changes

wrought by the retroactive application of the Fair Sentencing Act are not the result of the

Sentencing Commission’s revision to the Sentencing Guidelines, but Congress’s enactment of a

new statute. Therefore, by its plain terms, § 3582(c)(2) cannot apply.” United States v. Bishop,

2019 WL 1377020, at *2 (S.D. Ill. March 27, 2019) (emphasis added).

       Instead, this motion is brought pursuant to another provision of § 3582, which allows the

Court to “modify an imposed term of imprisonment to the extent otherwise expressly permitted

by statute.” § 3582(c)(1)(B). Through enactment of the First Step Act, Congress, itself, expressly

permits the Court to resentence Mr. Paulino as if the Fair Sentencing Act was in effect at the

time Mr. Paulino committed his crimes. See Bishop, 2019 WL 1377020, at *2 (“Now that the

First Step Act has provided . . . authority to modify a term of imprisonment, it can serve as a

basis for relief under § 3582(c)(1)(B); see also United States v. Tovar-Zamorano, 2019 WL

2005918, at *1 n.11 (D. Kan. May 7,2019) (listing cases concluding same).




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II.    Mr. Paulino Is Eligible for a Reduction of His Sentence.

       There can be no dispute that Mr. Paulino was convicted of a “covered offense” as defined

by the First Step Act. The Court, therefore, may “impose a reduced sentence as if sections 2 and

3 of the Fair Sentencing Act . . . were in effect at the time the covered offense was committed.”

First Step Act, § 404(b). As set forth above, Mr. Paulino pled guilty to violating 21 U.S.C.

§ 841(a) and he admitted that he possessed at least 5 grams of cocaine base. He also did not

contest the § 851 enhancement. As § 841(b)(1)(B) was codified in 2002, Mr. Paulino faced a

maximum term of imprisonment of life imprisonment. Applying § 4B1.1(b) of the guidelines

(the career offender provision) meant that Mr. Paulino’s total offense level was 34.

       With the current penalty provisions for violating § 841(a)(1) found at §§ 841(b)(1)(A),

(b)(1)(B), and (b)(1)(C) being given retroactive effect by the First Step Act, Mr. Paulino now

faces a maximum term of imprisonment of 30 years—not life. This is because Mr. Paulino

admitted in his plea only to possessing at least 5 grams of cocaine base. The relevant penalty

provision thus is not § 841(b)(1)(B) as it was in 2002, but the current version of § 841(b)(1)(C).

Compare § 841(b)(1)(B) (applying to cases involving 28 grams or more of a mixture of cocaine

base), with § 841(b)(1)(C) (applying to cases involving less than 28 grams of a mixture of

cocaine base). Under § 841(b)(1)(C), Mr. Paulino’s statutory maximum penalty as reflected by

the § 851 enhancement is 30 years of imprisonment. Applying § 4B1.1(b) of the guidelines and

a 3-point reduction pursuant to § 3E1.1, means that Mr. Paulino’s total offense level is now 31,

not 34. Compare § 4B1.1(b)(1), with § 4B1.1(2). Mr. Paulino, therefore, respectfully requests

that the Court impose a reduced sentence of 188 months, which would be proportionate to where

his originally imposed sentence fell in the applicable guideline range.



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       Mr. Paulino recognizes that Probation has taken the position that he is not eligible for a

reduced sentence. (See Doc. 154.) In its memorandum, Probation concludes as follows:

           The defendant is accountable for 85.6 grams of cocaine base. In the 2003
           presentence report, the defendant’s offense level computations were based
           on the 2002 edition of the guideline manual. Based on 85.6 grams of
           cocaine base, his base offense level was determined to be 32. The
           defendant was identified as a Career Offender pursuant to USSG § 4B1.1,
           which increased his offense level to 37. With an adjustment for acceptance
           of responsibility, his total offense level was 34 combined with a criminal
           history category was [sic] VI, resulting in a guideline imprisonment range
           of 262 to 327 months.

           In the revised calculations, utilizing the 2018 guideline manual, the
           defendant’s base offense level is 24. However, because the defendant
           qualifies as a Career Offender pursuant to U.S.S.G. § 4B1.1, the total
           offense level is increased to 37, just as it was in the original guideline
           calculations, and his total adjusted offense level is not impacted by the
           FIRST STEP Act. The defendant’s total offense level remains 34, pursuant
           to the Career Offender enhancement and the defendant is not eligible for
           any reduction.

(Id. at 2.) The error that Probation makes is that, as set forth above, Mr. Paulino’s total offense is

not “increased to 37, just as it was in the original guideline calculations.” Instead, Mr. Paulino’s

current adjusted offense level is 34 and his total offense level is 31.

       Probation’s error appears to be predicated on its conclusion that Mr. Paulino “is

accountable for 85.6 grams of cocaine base.” (Id. at 1.) That is, Probation appears to rely

erroneously on the amount of cocaine base for which Mr. Paulino was originally determined to

be responsible for purposes of relevant conduct. But Mr. Paulino admitted in his plea only to

possessing 5 grams or more of cocaine base—he did not admit to possessing 85.6 grams. As the

Supreme Court held in Alleyne v. United States, 570 U.S. 99 (2013), “[w]hen a finding of fact

alters the legally prescribed punishment so as to aggravate it, the fact necessarily forms a

constituent part of a new offense.” Id. at 114-15. Thus, “[t]o trigger the enhanced statutory


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penalties set out in § 841(b)(1)(A) and (b)(1)(B), the relevant drug quantity must be submitted to

the jury for resolution under the beyond-a-reasonable doubt standard,” United States v. Johnson,

878 F.3d 925, 927 n.1 (10th Cir. 2017), or admitted to by the defendant, see United States v.

Bradley, 581 F. App’x 249, 253 (4th Cir. 2014) (“[A]s we now know from Alleyne, Bradley was

not subject to § 841(b)(1)(B)’s five-year minimum because the threshold drug quantity . . . was

neither alleged in the indictment nor admitted by Bradley in connection with his guilty plea.”).

       To the extent the Court finds that Mr. Paulino is “accountable for 85.6 grams of cocaine

base,” this can be only for the purpose of determining relevant conduct under U.S.S.G.

§ 1B1.3—not for determining the statutory maximum penalty to which he is now subject after

enactment of the First Step Act. Cf. United States v. Cassius, 777 F.3d 1093, 1097 (10th Cir.

2015) (finding no Alleyne error where district court used judicial-drug finding for purpose of

determining guideline sentence where court did not “increase[] [d]efendant’s statutory

sentencing range or otherwise alter[] his legally prescribed punishment”). Mr. Paulino is hardly

alone in making this argument. Countless other courts recognize that the quantity of drugs used

for purposes of relevant conduct does not control whether a defendant is eligible for relief under

the First Step Act. Rather, what controls is the quantity of drugs alleged in the indictment and

proven to a jury, or pled to by the defendant. See, e.g., United States v. Stanback, --- F. Supp. 3d

---, 2019 WL 1976445, at *3 (W.D. Va. May 2, 2019) (“The jury in Stanback’s case found him

guilty of conspiracy to distribute and possess with intent to distribute 50 grams or more of

cocaine base. Under Alleyne, this court is not free to ignore this finding and impose a penalty

based on the 1.5 kilograms of cocaine base referenced in the PSR.” (citation omitted)); United

States v. Allen, 2019 WL 1877072, at *3 & n.4 (D. Conn. Apr. 26, 2019) (“As a growing number

of courts have concluded, it is the statute of conviction, not actual conduct, that controls
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eligibility under the First Step Act.” (internal quotation marks omitted) (citing cases)); United

States v. Dodd, --- F. Supp. 3d ---, 2019 WL 1529516, at *2 (S.D. Iowa Apr. 9, 2019) (“The First

Step Act . . . applies to offenses and not conduct.”); United States v. Powell, 2019 WL 1198005,

at *4 (N.D.N.Y. Mar. 14, 2019) (“[T]he drug type and quantity used to set the statutory range

under the First Step Act . . . is the quantity charged in the indictment and found by a jury beyond

a reasonable doubt.”); United States v. Davis, 2019 WL 1054554, at *2 (W.D.N.Y. Mar. 6, 2019)

(“It is the statute of conviction, not actual conduct, that controls eligibility for relief under the

First Step Act.”); see also United States v. Laguerre, 2019 WL 861417 (W.D. Va. Feb. 22, 2019)

(determining defendant’s eligibility for relief based on allegations in the charging documents and

not on the evidence established for purpose of sentencing); United States v. Logan, 2019 WL

498519 (D. Kan. Feb. 8, 2019) (same).

        In short, Mr. Paulino is eligible for relief under the First Step Act because the reduced

statutory range of punishment for the crime to which he pled guilty is now given retroactive

effect. This retroactive change results in a reduction in his guidelines range as determined by

§ 4B1.1(b) of the guidelines to 188 to 235 months of imprisonment.

                                           CONCLUSION

        Wherefore, for the foregoing reasons, Defendant Stephen Thomas Paulino respectfully

asks the Court to impose a reduced sentence of 188 months of imprisonment or time served.

Because he is eligible for immediate release, Mr. Paulino respectfully requests an expedited

decision.




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                                                    Respectfully submitted,

                                                    /s/ Todd A. Coberly
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 8th day of May, 2019, I filed the foregoing using the
CM/ECF system, which will electronically send notification of such filing to all counsel of
record.


                                                        /s/ Todd A. Coberly
                                                        Todd A. Coberly




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